Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 1 of 10




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


          DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 1
                  TO PRECLUDE INTRODUCTION OF TESTIMONY
                      OR EVIDENCE CONCERNING METHBOT
            The popular Yiddish word “chutzpah,” defined by Google’s online dictionary as
  “shameless audacity,” captures perfectly the essence of Plaintiffs’ Motion in Limine No. 1. That
  is so for two primary reasons. First, Plaintiffs are seeking to exclude evidence which is integral
  to Plaintiffs’ calculation of their own alleged damages. Second, both for purposes of damages
  and other issues like substantial truth, Plaintiffs’ arguments are all premised on the assumption
  that the Court must accept their own version of the facts about the Methbot scandal: i.e., that they
  were good guys who were unwittingly victimized by someone else’s malfeasance. But the only
  evidence to support that story is their self-serving testimony, and there is a wealth of
  circumstantial evidence to the contrary. The evidence therefore clearly presents a jury question
  as to whether, at the very time of the alleged Democratic hack, Plaintiffs were knowingly
  involved in, or willfully blind to, a massive botnet operation that was by far their most lucrative
  stream of business at the time. Plaintiffs’ Motion in Limine No. 1 should be denied.
                                     FACTUAL BACKGROUND
            The Methbot scandal has been discussed in multiple motions addressing multiple issues
  in this case – which in and of itself illustrates this motion’s lack of merit. See, e.g., Defs. Opp. to
  Ferrante Daubert (Dkts. 275, 297) at 5-6. Nonetheless, because this motion seeks to exclude
  such evidence entirely, we review the relevant facts below.




                                                    1
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 2 of 10




   A.      The Actual Evidence About Plaintiffs’ Involvement in Methbot
          As is detailed in the expert report of Anthony Ferrante (Dkt. 248, Ex. 1) (the “Ferrante
  Report”), on December 20, 2016, the cyber-security firm White Ops released a report detailing
  what it said was a massive advertising “botnet” fraud being perpetrated by cyber-criminals based
  in Russia. See, e.g., Ex. 1; Ferrante Report at 17-22. The news was widely covered in major
  media world-wide. Ex. 2 at 3. In its report, White Ops also released related technical data,
  including some IP addresses allegedly involved in the scam. Ex. 3 (Dvas Dep.) at 186:15-22;
  Ferrante Report at 18. Mr. Ferrante found that as the Methbot operation was escalating in the
  latter part of 2016, 76 percent of the IP addresses associated with two of XBT’s principal
  subsidiaries – Servers.com and WZ Communications, Inc. (affiliated with Webzilla) – matched
  those identified by White Ops. See Ferrante Report at 18.
          Nick Dvas, an XBT executive, testified that XBT first learned about Methbot because he
  read the media coverage about the White Ops report, then read the White Ops report itself, and
  then looked at the IP addresses released by White Ops, and then somehow connected those IP
  addresses to Plaintiffs. Ex. 3 (Dvas Dep.) at 185:17-191:2; Ex. 6. Plaintiffs further testified that
  all of the suspicious IP addresses were being used by a single customer, who they claim was
  named Alexander Zhukov. Ex. 3 (Dvas Dep.) at 188:20-189:25. Zhukov was well-known to
  Plaintiffs – he was a “big client” who had personally visited them in Cyprus several times. Ex. 3
  (Dvas Dep.) at 191:3-194:22; Ex. 5. Plaintiffs further claimed that they had no idea Mr. Zhukov
  might have been engaged in any illicit activity, and acted quickly to terminate his access to their
  servers. Ex. 3 (Dvas Dep.) at 191:3-194:25; Ex. 5.
          However, apart from e-mail notices evidencing that they appear to have terminated a
  customer and kept the hard drives (Ex. 3 (Dvas Dep.) at 241:1-244:8), Plaintiffs have not
  produced a shred of documentary evidence to substantiate any of this story. They claim to have
  no internal communications supporting their testimony about when or how they came to know
  about Methbot and how they reached the decision to supposedly terminate one particular
  customer. Instead, they claim that all such communications just happened to be oral. Ex. 3
  (Dvas Dep.) at 190:1-21. Yet they produced a significant paper trail of external communications
  with their outside public relations agency in which, for purposes of devising a PR strategy, they
  tell it the same story they tell here. See, e.g., Exs. 2, 5-12, 20.




                                                      2
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 3 of 10




         More broadly, there is virtually no paper trail to substantiate almost everything they say
  about Mr. “Zhukov.” That is remarkable given that if he actually existed as a single client, the
  evidence indicates that he was by far Plaintiffs’ largest customer. 1 Yet they never entered into a
  written contract with “Zhukov,” which Gubarev now claims was a “mistake.” Ex. 13. Their
  internal records consist of a credit card check with a “tolerance threshold” of $1,000 and
  notations regarding multiple Russian names and e-mail addresses they are unable to identify. Ex.
  3 (Dvas Dep.) at 245:1-252:19. And though he was supposedly a client for more than a year who
  personally visited them several times, they have not produced a single actual e-mail, message or
  other communication from “Zhukov.”
         Rather, the only paper trail consists of hundreds of pages of invoices which only raise
  more questions. Webzilla has invoices billed to an “Alexander Zhukov” – with no address or
  contact information for that supposed customer. See Ex. 14.2 On the other hand, Servers.com
  produced invoices for hundreds of thousands of dollars that have no customer name at all, just a
  Gmail.com address (ibettors2@gmail.com), ostensibly in St. Petersburg. See Ex. 16. And in
  November 2016, when the Methbot fraud escalated sharply, Servers.com suddenly began to
  produce invoices to the “Mintek Group” ostensibly at some snail-mail address in the Seychelles.
  See Ex. 17. XBT claims they made that change because Zhukov “asked” for it. Ex. 15 (XBT
  30(b)(6) Dep.) at 142:4-145:5. Yet once again Plaintiffs have not provided a shred of evidence
  to substantiate that claim, and indeed profess to have no idea whether the “Mintek Group” ever
  existed or why it would have made sense for such large invoices to suddenly be mailed to the
  Seychelles.
  B.     Evidence About the Financial Impact of Methbot on Plaintiffs
         The facts also show that the supposed Methbot customer was integral to Plaintiffs’
  financial performance in 2016, especially for its flagship brand, Servers.com. White Ops
  reported that the Methbot operation grew gradually from late 2015 through the summer of 2016,
  and then escalated significantly during the last quarter of 2016. XBT’s financial reports show

  1
    Plaintiffs could not identify any other customer who was leasing more servers. Dvas Dep. at
  195:23-195:8. Moreover, at Methbot’s peak Mr. “Zhukov” paid Plaintiffs $400,000 a month.
  Plaintiffs could not identify a single other customer, either then or now, that has ever paid them
  even half that monthly amount. Ex. 3 (Dvas Dep.) at 30:22-35:23; Ex. 15 (XBT 30(b)(6) Dep.)
  at 129:5-132:8.
  2
    Because Exhibits 14, 16, and 17 are voluminous, Defendants have included only the first page
  of each.


                                                   3
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 4 of 10




  that its monthly revenues grew in lockstep with the reported Methbot operation; they gradually
  increased for the first eight months of 2016, and then jumped by 20 percent in September 2016
  and continued to increase thereafter. Moreover, even under Plaintiffs’ version of the facts, the
  “Zhukov” customer’s contribution to XBT’s bottom line fit a similar pattern and made a
  substantial impact. Below is a chart which shows XBT’s total consolidated revenues for each
  month in 2016, and Mr. Zhukov’s alleged contribution to those revenues:
          XBT Consolidated Revenue3            Revenue from Zhukov4           Zhukov Percentage

  Jan.          $2,953,847                             $65,554                        2.2%

  Feb.           $2,947,857                            $76,004                        2.6%

  March          $3,201,392                            $131,223                       4.1%

  April          $3,674,263                            $190,195                       5.2%

  May            $3,707,789                            $170,335                       4.6%

  June           $3,784,952                            $170,379                       4.5%

  July           $4,108,935                            $169,761                       4.1%

  Aug.           $4,197,186                            $170,634                       4.1%

  Sept.          $5,112,591                            $170,221                       3.3%

  Oct.           $5,267,935                            $170,569                       3.2%

  Nov.           $5,343,047                            $398,884                       7.5%

  Dec.5          $5,467,576                            $311,752                       5.7%

  TOTAL          $49,727,371                           $2,195,511                     4.4%

          But even these figures understate how central the revenue from Methbot was to
  Plaintiffs’ overall business strategy in 2016 – including their plans for future growth. According
  to Plaintiffs, Zhukov first became a customer in October 2015. Ex. 19. That was the very time
  when XBT began to launch its new brand, called Servers.com, in the United States, Russia and


  3
    Ex. 18.
  4
    Ex. 19.
  5
    According to Plaintiffs, Zhukov ceased being a customer on or about December 20, 2016, so
  this figure is only for two-thirds of December.


                                                   4
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 5 of 10




  elsewhere. As Dvas later stated, XBT “made a decision to invest heavier in Servers.com
  infrastructure, since it is way more modern and better built compared to Webzilla.” Ex. 20.
  Launching Servers.com was also what prompted Plaintiffs to hire outside public relations firms.
  Ex. 3 (Dvas Depo.) at 46:2-16. And XBT’s financial projections at the end of 2016, which form
  the basis of its damages theory, focused heavily on Servers.com as the company’s engine for
  future growth. Ex. 21 at P-G001038-39.
         The invoices Plaintiffs produced for Zhukov show that out of the approximately $2.2
  million he paid them in 2016, $2 million was paid to Servers.com. Plaintiffs’ individual
  financial statements for each subsidiary show that the entire “Servers.com” brand – which
  consisted of five subsidiaries around the world – had $7,539,000 in revenues in 2016. See Ex.
  7B to Anderson Daubert Motion (Dkts. 249-8, 260-1) at 10, 29, 57, 85, 106. Thus, Zhukov
  accounted for 26.4 percent of the 2016 revenues of XBT’s flagship brand.
         As the Court is by now aware, XBT’s revenues actually increased substantially in 2017,
  from $49.7 million in 2016 to $58.4 million in 2017. Nonetheless, its claim for damages is
  predicated on the assertion that but for the publication of the Dossier, XBT would have made
  $62.8 million in 2017. Ex. 22 (Anderson Dep.) at 77:8-21. Originally, Plaintiffs claimed they
  would have made $64.2 million in 2017, based on a financial projection made in November 2016
  – the very point at which their monthly revenues from Zhukov were approaching $400,000 a
  month. Yet as a result of Defendants’ conducting discovery about their involvement in Methbot,
  Plaintiffs lowered those projections – both internally and for purposes of their expert’s report –
  to supposedly account for the loss of the Methbot:
         Q. Okay. Now for your purposes – and the adjustments you made when you wrote your
         second report, right, were, number one, you used their updated revenue number? Right?
         A. Correct.
         Q. And secondly, you backed out your estimate of revenue from the Methbot customer?
         A. From the projections.
         Q. From their [XBT’s] 2016 projections?
         A. Well, their 2017 projection.
         Q. Yes.
         A. Done in November of 2016.

  Ex. 22 (Anderson Dep.) at 76:3-14.
         To say the least, the parties dispute how much Methbot impacted Plaintiffs’ bottom line
  in 2017. Plaintiffs now claim the impact was about $1.3 million, a figure that seems dubious on



                                                   5
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 6 of 10




  its face. It is substantially less than “Zhukov” actually contributed in 2016 ($2.2. million), and
  his contribution was sharply rising each month towards the end of that year. Indeed, when the
  scandal broke, Gubarev told Plaintiffs’ public relations firm that the impact would likely be “2-
  2.5 million” or “a few million dollars.” Ex. 5 at 2-3; Ex. 13.
         Plaintiffs’ expert also admitted that even under his client’s version of the facts, he has “no
  idea” whether other customers might have been involved in the fraud and might have
  disappeared on their own once news of the Methbot scandal broke. Ex. 22 (Anderson Dep.) at
  122:24-124:22. Moreover, Plaintiffs claim that as a result of Methbot they instituted more
  rigorous “know your client” screening procedures going forward – which presumably could have
  affected their ability to attract new clients. Ex. 5 at 2. And perhaps most importantly, even
  under Plaintiffs’ version of the facts, Methbot eliminated overnight more than a quarter of the
  revenue earned by the brand that was supposed to be XBT’s engine for growth in 2017. In short,
  as Defendants’ expert explained, the data could readily support the conclusion that if there was
  any “shortfall” in Plaintiffs’ 2017 revenues, it was entirely attributable to Methbot, rather than
  the Dossier. Ex. 4 at 6-7, 17-21, 26-29.
                                             ARGUMENT
         Methbot is unquestionably relevant to this case. First, it is undisputed that Methbot is
  directly relevant to Plaintiffs’ damages in this case, by their own calculations. Remarkably,
  Plaintiffs’ motion makes no mention of the fact that (1) their CFO claims to have revised the
  company’s projections to try to account for the loss of Zhukov and (2) their damages expert
  accordingly revised his expert report specifically to “back out” what Plaintiffs calculated as the
  revenue attributable to the Methbot customer. In short, while the Parties dispute the extent of
  Methbot’s impact on Plaintiffs’ bottom line, there is no dispute that it had a sufficiently material
  impact so that it must be factored into any assessment of XBT’s alleged damages. Methbot is
  therefore directly relevant to both causation of and any amount of damages.
         And because the impact of Methbot is integral to Plaintiffs’ own business projections, it
  will be relevant regardless of whether it is Mr. Anderson or someone else who is permitted to
  testify about alleged damages. In fact, on the very day Plaintiffs filed this motion in limine, they
  also filed their opposition to Defendants’ Daubert motion to exclude Mr. Anderson’s testimony.
  In that filing, they told the Court that the amount of lost revenue attributable to Methbot is “a
  factual matter of dispute to be presented to the jury.” Dkt. 279 at 8 n.2. And finally, Plaintiffs’



                                                    6
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 7 of 10




  involvement in Methbot could well have contributed to their alleged damage to their reputation,
  especially since it was something that was readily discoverable by others in the industry. Condit
  v. Dunne, 225 F.R.D. 100, 110 n.4 (S.D.N.Y. 2004) (plaintiff’s previously unreported sexual
  relationships relevant to mitigation of damages because “both publicly available information and
  Condit’s private actions could have contributed to Condit's alleged reputation damage”).
         Methbot is also directly relevant to the issue of truth. Importantly, Plaintiffs do not argue
  in their motion in limine that even if their involvement in Methbot was something other than
  innocent, evidence about Methbot should nonetheless be excluded. Rather, they proclaim their
  innocence, and on that basis argue it is irrelevant and prejudicial. But Plaintiffs’ self-serving
  claim that they “had no way of knowing for what purpose the client was utilizing the leased
  servers” is hotly disputed. Pl. MIL No. 1 at 3-4. Plaintiffs’ testimony to that effect is basically a
  question of credibility, and there is a wealth of evidence to the contrary.
         For example, as Plaintiffs themselves breathlessly emphasize, “the Methbot White
  Paper never once mentions or references any of the Plaintiffs,” nor did the related media
  coverage. Id. at 3 (emphasis in the original). Yet Dvas – who at the time was CEO of
  Servers.com – purports to have immediately “discovered” that their largest customer was one of
  the main culprits and implemented a plan of action accordingly, with no internal paper trail to
  substantiate that story. A more plausible explanation is that Plaintiffs were well aware that at
  least 26.4% of their flagship brand’s business came from an advertising fraud, and so as soon as
  they saw news coverage about its discovery they acted immediately to try to establish plausible
  deniability and enact a public relations strategy focused on concealing Servers.com’s role in the
  fraud. Ex. 20 (Dvas e-mails his PR spokesperson, “please, don’t be proactive with servers.com
  mentioning. We want the damage to be limited to Webzilla.”). That would also be consistent
  with the absence of any discoverable communications with their supposed largest customer, the
  absence of any contract, and invoices e-mailed to Gmail addresses or unknown places in the
  Seychelles.
         In short, Plaintiffs are free to pitch their version of the facts to the jury, but there is
  clearly a fact question as to whether at exactly the same time the Dossier alleges that “entities
  affiliated with” Plaintiffs were allegedly using “botnets” aimed at disrupting the 2016 election,
  their flagship brand allowed Russian nationals to run a massive botnet ring on its servers in
  exchange for effectively keeping it in business at a critical time. See e.g., Wells v. Liddy, 37 F.



                                                     7
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 8 of 10




  App’x 53, 60-61 (4th Cir. 2002) (admitting evidence that there was prostitution in a building
  with which plaintiff was affiliated because it was circumstantial evidence of substantial truth of
  allegations that plaintiff was involved in a call-girl ring).
          As previously noted, Plaintiffs do not even try to argue that version of the facts would
  render Methbot irrelevant. Nor could they. The Eleventh Circuit has squarely held that “[i]n an
  action for defamation or libel … the issue of the plaintiff’s reputation and character scarcely can
  be avoided because the plaintiff typically seeks to recover compensation for damage to his or her
  reputation.” Schafer v. Time, Inc., 142 F.3d 1361, 1370 (11th Cir. 1998). As a result, Schafer
  held that specific instances of misconduct by a plaintiff were admissible in a libel case under
  Fed. R. Evid. 405(b)). Moreover, Plaintiffs’ involvement in Methbot bears a far more direct
  relationship to the allegedly defamatory statements at issue than did the specific instances of
  misconduct admitted in Schafer. There, the Court permitted cross-examination about matters
  such as possible parole violations and failure to pay child support, in a case in which the issue
  was how the plaintiff’s photo had mistakenly come to be associated with the bombing of Pan Am
  Flight 103 over Scotland. Id. at 1371-72. See also Guccione v. Hustler Magazine, Inc., 800 F.2d
  298, 303 (2d Cir.1986) (allowing evidence of public knowledge of plaintiff’s prior bad acts on
  the question of substantial truth and damages).
          In sum, Plaintiffs have no basis to preclude discussion of Methbot at trial. Plaintiffs have
  already conceded that it is relevant to their calculation of damages, and they continue to
  represent its importance to the Court to this day. Methbot further provides circumstantial
  evidence that is highly probative of the substantial truth or falsity of the allegations, the
  reliability of Christopher Steele’s information, the credibility of Plaintiffs’ witnesses, and
  Plaintiffs’ reputation for purposes of damages. Accordingly, Plaintiffs’ motion in limine should
  be denied.

  Dated: November 13, 2018                  Respectfully submitted,
                                            /s/ Katherine M. Bolger
                                            Katherine M. Bolger
                                            Nathan Siegel
                                            Adam Lazier
                                            Alison Schary
                                            Davis Wright Tremaine, LLP
                                            1251 Avenue of the Americas, 21st Floor
                                            New York, New York 10020
                                            katebolger@dwt.com


                                                     8
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 9 of 10




                                 nathansiegel@dwt.com
                                 adamlazier@dwt.com
                                 alisonschary@dwt.com

                                 /s/ Roy Black
                                 Roy Black
                                 Jared Lopez
                                 Black, Srebnick, Kornspan & Stumpf, P.A.
                                 201 So. Biscayne Boulevard
                                 Miami, Florida 33131
                                 rblack@royblack.com
                                 jlopez@royblack.com

                                 Attorneys for Defendants




                                         9
Case 0:17-cv-60426-UU Document 319 Entered on FLSD Docket 11/13/2018 Page 10 of 10




                                    CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
   will be served electronically by email on all counsel or parties of record on the service list below
   this 13th day of November, 2018.



                                                 By: /s/ Adam Lazier
                                                         Adam Lazier




                                            SERVICE LIST

          Matthew Shayefar
          Valentin D. Gurvits
          BOSTON LAW GROUP, PC
          825 Beacon Street, Suite 20
          Newton Centre, Massachusetts 02459
          Telephone: 617-928-1806
          Facsimile: 617-928-1802
          matt@bostonlawgroup.com
          vgurvits@bostonlawgroup.com

          Evan Fray-Witzer
          CIAMPA FRAY-WITZER, LLP
          20 Park Plaza, Suite 505
          Boston, Massachusetts 02116
          Telephone: 617-426-000
          Facsimile: 617-423-4855
          Evan@CFWLegal.com

          Brady J. Cobb
          Dylan Fulop
          COBB EDDY, PLLC
          642 Northeast Third Avenue
          Fort Lauderdale, Florida 33304
          Telephone: 954-527-4111
          Facsimile: 954-900-5507
          bcobb@cobbeddy.com
          dfulop@cobbeddy.com




                                                    10
